                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION
                                No. 4:15-CV-98-BO


PATRICK P. STAUDNER,                         )
                                             )
                              Plaintiff,     )
                                             )
V.                                              )                ORDER
                                                )
ROBINSON AVIATION, INC. ,                       )
PROFESSIONAL AIR TRAFFIC                        )
CONTROLLERS ORGANIZATION,                       )
                                                )
                              Defendants.       )



       This cause comes before the Court on plaintiffs motion for attorney fees and amended

memoranda in support. [DE 174, 184, 198]. Defendants noticed their appeal of the judgment in

this matter on April 14, 2020. [DE 191 , 192].

       As the judgment in this matter is now before the court of appeals, the Court DENIES the

motion for attorney fees WITHOUT PREJUDICE to refiling within fourteen days of the

resolution of the appeal.     See Fed. R. Civ. P. 54(d) Advisory Committee Notes (1993

amendment).


SO ORDERED, this     a      day of May, 2020.




                                            ~~ ¥ CHIEF UNITED STATES DISTRICT JUDGE




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